     Case: 6:17-cr-00051-CHB-HAI        Doc #: 141 Filed: 05/04/18           Page: 1 of 2 - Page
                                            ID#: 414
                                                                                Eastern District of Kentucky
                                                                                      FILED
                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY                               MAY O4 2018
                                 SOUTHER DIVISION                                       AT LEXINGTON
                                    AT LONDON                                          ROBERT R. CARR
                                                                                  CLERK U.S. DISTRICT COURT



UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                               CRIMINAL ACTION NO. 6:17-CR-00051-SS-CHB-HAI-1

ROBERT HURLEY, III aka BOBBY HURLEY                                                DEFENDANT


     ORDER ADOPTING RECOMMENDATION OF ACCEPTANCE OF GUILTY PLEA

         This matter is before the Court on the Recommendation of Acceptance of Guilty Plea

filed by United States Magistrate Judge Hanly A. Ingram. [R. 131.] The recommendation

instructed the parties to file any specific written objections within three days after being served

with the decision, or else waive the right to further review. [See id at 3.] Neither party has

objected to the Magistrate's recommendation, and the time to do so has now passed. Defendant

Hurley III did file a consent to plead before the United States Magistrate Judge. [R. 127.]

         Upon review, the Court is satisfied that Defendant Robert Hurley III knowingly and

competently pled guilty to the charged offenses and that an adequate factual basis supports the

plea as to each essential element of the offense charged. Accordingly, the Court hereby

ORDERS as follows:

         1. Judge Ingram's Recommendation of Acceptance of Guilty Plea [R. 131] is

            ADOPTED as and for the Opinion of the Court;

         2. Defendant Robert Hurley III is ADJUDGED guilty of Counts Five and Six of the

            Indictment;

         3. The Defendant's Jury Trial is CANCELLED; and

         4. A Sentencing Order shall be entered promptly.
Case: 6:17-cr-00051-CHB-HAI          Doc #: 141 Filed: 05/04/18      Page: 2 of 2 - Page
                                         ID#: 415



    This the 4th day of May, 2018.



                                                ~atmL~)Claria Hom Boom
                                                    United States District Judge
                                            Eastern and W estem Districts of Kentucky




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